                              Dr. Ruggieri’s Opinions
              Pfizer and Warner-Lambert acted reasonably and complied
              with regulatory requirements in monitoring the safety of
              Neurontin

              The information available to Warner-Lambert and Pfizer has
              consistently failed to support an association or reveal any
              signal of potential increased risk for depression or suicidal
              behaviors in patients taking Neurontin

              No signal emerged sufficient to raise special safety concerns in
              the off-label use of Neurontin

              The Neurontin labeling adequately conveyed necessary
              information to prescribers regarding the risks and benefits of
              the medicine
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                                         Clinical Judgment
                                    Necessary to Interpret Signal




                                                             “Proper interpretation also
                                                             requires clinical judgment
                                                             before one even considers
                                                             there to be a signal.”
                                                                                            Source: Strom, JAMA, 293:1324-5 (2005)




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                                     Sample MedWatch Form




                                                             Submission of a report does
                                                             not constitute an admission
                                                             that medical personnel or
                                                             the product caused or
                                                             contributed to the event.



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                                         June 7, 2001 Memo on
                                        First Pfizer PMP Meeting



                                                             The objective was to
                                                             identify any potential
                                                             safety signals in the
                                                             database involving
                                                             gabapentin use for
                                                             neuropathic pain.

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                         Pfizer Reviewed Adverse Events
                                                                            July 25, 2002 Meeting

                                                             The adverse events selected for this
                                                             review were those being unlabeled
                                                             and meeting one or more of the
                                                             following criteria:
                                                                 Reporting frequency of ≥ 1% on
                                                                 report 28C
                                                                 Medically significant
                                                                 Characteristics of a drug-induced
                                                                 adverse reaction in general
                                                                 Pharmacologically plausible

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                              Pfizer Analyzes Adverse Events in
                              Off-Label Use Populations in 2001


                                                             Review of events of relevance
                                                             to the neuropathic pain
                                                             population. The intent would
                                                             be to note whether there are
                                                             possible signals of specific
                                                             adverse events in the
                                                             neuropathic pain population
                                                             that may be diluted by the
                                                             overall population and to assess
                                                             the strength of any signal.

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                         Pfizer Analyzes Adverse Events in
                        Neuropathic Pain Population in 2001


                                                             Patients with chronic
                                                             neuropathic pain may represent
                                                             a population with a significant
                                                             amount of comorbid depression
                                                             (150 cases) and suicide (15).
                                                             Therefore these cases will be
                                                             looked at to include or exclude
                                                             any significant signal of drug
                                                             induced depression/worsening
                                                             depression.

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                Pfizer’s Conclusions on Analysis of
           Neuropathic Pain Adverse Event Data in 2001
                                                             1) The overall adverse event profile of
                                                                [Neurontin] was “consistent with the
                                                                current prescribing information for
                                                                [Neurontin] in the treatment of
                                                                epilepsy;
                                                             2) The adverse event profile in the
                                                                neuropathic pain dataset was similar to
                                                                the dataset comprised of other
                                                                indications and to the current
                                                                prescribing information for [Neurontin]
                                                                in the treatment of epilepsy; [and]
                                                             3) No significant signals were detected in
                                                                the neuropathic pain dataset that
                                                                would indicate adverse events causally
                                                                related to [Neurontin] that are novel in
                                                                terms of their nature or severity….
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               FDA Search Strategy Used by Pfizer in 2004
               For Suicide Data From ‘Electronic Sources’
                                                                 Any events coding to preferred terms
                                                                 that include the text strings “suic” or
                                                                 “overdos”. Cases of accidental
                                                                 overdose will not be included.
                                                                 Verbatim/Investigator terms that
                                                                 include the following text strings,
                                                                 hyphenated as appropriate:
                                                                 “attempt”, “mutilate”, “overdos”,
                                                                 “self damage”, “self harm”, “self
                                                                 inflict”, “self injur”, “suic”
                                                                 For studies with no electronic data,
                                                                 adverse event terms from study
                                                                 reports will be reviewed with event
                                                                 terms consistent with certain text
                                                                 strings.
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  Pfizer 2004 Response to FDA Regarding Suicide and Suicide
   Attempt in Neurontin – Importance of Background Rates

                                                         The literature indicates that
                                                         background rates for suicide are
                                                         higher in patient populations with
                                                         psychiatric or pain disorders and
                                                         epilepsy than the rates expected in
                                                         the general population. Clinical
                                                         studies and clinical usage of
                                                         gabapentin include such patient
                                                         populations and therefore the
                                                         background rates are an important
                                                         consideration in this review of
                                                         suicide and suicide attempt cases in
                                                         the gabapentin clinical trial and
                                                         postmarketing data.
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  Pfizer 2004 Response to FDA Regarding Suicide and Suicide
          Attempt in Neurontin – Pfizer’s Conclusions

                                                         In summary, the combined results
                                                         of a comprehensive search for
                                                         cases of suicide and suicide attempt
                                                         among gabapentin clinical trials and
                                                         postmarketing data across all
                                                         patient populations did not
                                                         indicate an increased risk of suicide
                                                         with gabapentin treatment. The
                                                         results of this review are consistent
                                                         with the published literature for
                                                         suicide in comparable patient
                                                         populations in which gabapentin
                                                         has been studied or used.
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         FDA-Controlled Clinical Trials the Only Way to
      Establish Whether AEDs Are Responsible for Suicide
                                                             April 1, 2008 E-Mail From FDA to Ruggieri



                                                         Patients taking [AEDs] have a
                                                         high background rate of suicidal
                                                         thoughts/behaviors, and it is not
                                                         possible to tell from AERS
                                                         reports, whether the drug
                                                         caused them. In the agency’s
                                                         view, the only way to establish
                                                         whether or not the drugs are
                                                         responsible for suicidality is to
                                                         analyze controlled trial data.
                                                                            Source: E-mail from FDA to Dr. Alex Ruggieri (April 1, 2008)


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                                Neurontin Placebo-Controlled
                                     Clinical Trial Data
                                                                                                       Gabapentin               Placebo
              June 22, 2006                                               Category                      (N=5194)               (N=2682)
                                                                                                          n (%)                  n (%)


                                                              Completed suicide (code 1)                 0 (0.000)              0 (0.000)



                                                              Suicide attempt (code 2)                   0 (0.000)              0 (0.000)


                                                              Preparatory acts towards
                                                              imminent suicidal behavior                 0 (0.000)              0 (0.000)
                                                              (code 3)


                                                              Suicidal ideation (code 5)                 2 (0.039)              1 (0.037)



                                                                             Total                        0.039%                 0.037%


                                                                    Source: Pfizer
                          Case 3:05-cv-00444 Document 178-2 Filed 04/27/10     PageSubmission
                                                                                      13 of 17to FDA at 4 (June
                                                                                                  PageID     #: 22,
                                                                                                                41962006); Coronel Decl., Ex. 5

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               FDA’s Minor Labeling Change Request
                                                          November 22, 2005 E-Mail From FDA to Pfizer




                                                         Please proceed with
                                                         the minor labeling
                                                         changes pertaining to
                                                         suicide-related events.
                                                                        Source: E-mail from Courtney Calder to Manini Patel (Nov. 22, 2005)




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                                   Top Criticisms of Blume
              The conclusions of the FDA clinical reviewers and the Peripheral and Central Nervous System Advisory
              Committee indicate that no evidence for an increased risk of suicidality or depression existed based on
              data from the Neurontin clinical trials in epilepsy.
              FDA’s initial labeling decision not to include a warning for suicidal behavior and depression was confirmed
              repeatedly in subsequent analyses of the Neurontin safety data.
              FDA did not find any individual dechallenge-rechallenge observations sufficient to override the statistically
              significant comparison of adverse events reported by patients in the treatment and placebo groups.
              Dr. Blume’s report repeatedly aggregates or “lumps” multiple adverse events into a category called
              “Psychobiologic Adverse Events.” There is no explanation or medical basis provided in the Blume report of
              any medical or physiological semantic relationship of this aggregate concept to the concept of suicidality,
              nor would she by virtue of her qualifications, including her lack of medical training, be able to provide any.
              Dr. Blume’s report incorrectly defines the concept of a proportional reporting ratio and subsequently
              misapplies it in graphical representations. The Blume report also fails to call out the widespread
              recognition of the limitations of this approach articulated by Dr. Strom as well as by Dr. Greenland.
              Dr. Blume highlights raw numbers of adverse event reports, but she does not calculate rates that provide a
              measure of risk and are necessary to identify excess risk, nor does she compare rates among comparator
              groups. She does not compare the rate of suicide in Neurontin patients with those of patients receiving
              placebo.
              FDA’s meta-analysis in 2008 and the subsequent requirement of a class label does not indicate that prior
              decisions concerning the Neurontin label were wrong. In fact, the Neurontin data analyzed by FDA in 2008
              would not suggest the need for a warning.
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                                  Safety Data Sent to FDA
       1992                                                      December 3, 1999
       Epilepsy ISS                                              Pediatric ISS
                                                                                 December 2001
                May 29, 1992                                                     PHN ISS
                First Safety Update
                                                                                    2004
                                                                                    Pfizer Response to FDA
                          October 30, 1992                                          Regarding Suicide and Suicide
                          Second Safety Update                                      Attempt in Neurontin


                                      May 12, 1993                                    April 2004
                                      Third Safety Update                             One-year and
                                                                                      five-year PSURs

                                                December 15, 1993                                  June 22, 2006
                                                Fourth Safety Update                               Pfizer Response to
                                                                                                   FDA Suicidality
                                                                                                   Request


              1992                1993                1999                2001          2004
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                                                                                                           2006
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                               Dr. Ruggieri’s Opinions
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